         Case 6:22-cv-00816-PGB-DCI Document 42 Filed 03/08/23 Page 1 of 1 PageID 155
AO 85A (Rev. 02/17) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                            Middle District
                                                       __________  District of
                                                                            of __________
                                                                               Florida

              HUMBERTO GUTIERREZ, et al.                                     )
                              Plaintiff                                      )
                                  v.                                         )       Civil Action No.      6:22-cv-816-PGB-DCI
           GEMILANG SOLUTIONS, LLC, et al.                                   )
                             Defendant                                       )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if
all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

           Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identify each motion by document number and title).


                   Motions: Joint Motion for Approval of FLSA Settlement and to Dismiss Case
                                 with Prejudice with Incorporated Memorandum of Law (D.E. #37)




     Printed names of parties and attorneys                              Signatures of parties or attorneys                          Dates
HUMBERTO GUTIERREZ and GLORIA E.                                                                                                     3/7/23
DIAZ, Julisse Jimenez, Attorney for Plaintiffs
GEMILANG SOLUTIONS LLC, HAYDE                                                                                                        3/7/23
RODRIGUEZ, and JUAN RODRIGUEZ
Jamie L. White, Attorney for Defendants


                                                                  Reference Order

         IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).


Date:
                                                                                                        District Judge’s signature



                                                                                                         Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.

           Print                          Save As...                                                                                  Reset
